                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )                Case No. 3:18-cv-966-MJR-DGW
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

                 UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                   FILE RESPONSE TO PLAINTIFF’S COMPLAINT

        1.     NOW COME Defendants YUKE’S CO., LTD. (“Yuke’s”), and YUKE’S LA,

 INC. (“Yuke’s LA”) by and through their Attorneys, DALE CENDALI and JOSHUA

 SIMMONS of KIRKLAND & ELLIS LLP (collectively, “Moving Defendants”), and pursuant to

 Federal Rule of Civil Procedure 6, hereby move this honorable Court for an extension of time to

 file a response to Plaintiff CATHERINE ALEXANDER’s (“Plaintiff”) Complaint, to July 9,

 2018, the date on which all other Defendants’ responses to Plaintiff’s Complaint are due. In

 support thereof, Moving Defendants state as follows:

        2.     On April 17, 2018, Plaintiff, an individual resident of Illinois, filed her Complaint

 alleging that Defendants infringed certain copyrights by creating the video game series WWE 2K.

 [Doc. 1].

        3.     Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc.,

 World Wrestling Entertainment, Inc., and Visual Concepts Entertainment previously were
served, and this Court previously granted them extensions of time to file their responses to the

Complaint to July 9, 2018 [Doc. 35, 38].

       4.      Yuke’s and Yuke’s LA have now been served.

       5.      As Counsel for Moving Defendants only was recently retained, due to the nature

and complexity of the case, and because all other Defendants have received extensions to file

their responses to the Complaint by July 9, 2018, Moving Defendants respectfully request an

extension of time to July 9, 2018, to respond to Plaintiff’s Complaint.

       6.      Counsel for Moving Defendants contacted counsel for Plaintiff regarding the

requested extension. Counsel for Plaintiff stated that they have no objection to this extension.

       7.      This motion is made in good faith and is not intended to cause undue delay.

       WHEREFORE, for the above and foregoing reasons, Moving Defendants respectfully

request this honorable Court grant them an extension of time to file a response as stated herein.



Dated: May 30, 2018                          Respectfully submitted,

                                             /s/Dale M. Cendali
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                                             Attorneys for Defendants 2K Games, Inc., 2K
                                             Sports, Inc., Take-Two Interactive Software,
                                             Inc., Visual Concepts Entertainment, Yuke’s
                                             Co., Ltd., and Yuke’s LA, Inc.




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YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

                               CERTIFICATE OF SERVICE

        I hereby certify that on May 30, 2018, the foregoing document, Motion for Extension of
 Time, was electronically filed with the Clerk of the Court using the CM/ECF system which will
 send notification of such filing to the following:

               Anthony G. Simon          asimon@simonlawpc.com
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                                          Inc., Visual Concepts Entertainment, Yuke’s
                                          Co., Ltd., and Yuke’s LA, Inc.
